     Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 1 of 21 Page ID #:72



1      WORTHE HANSON & WORTHE
2      TODD C. WORTHE – State Bar No. 177452
       MACKENZIE C. FOELLMER – State Bar No. 255721
3
       1851 East First Street, Suite 400
4      Santa Ana, California 82705
       Telephone (714) 285-9600
5
       Facsimile (714) 285-9700
6      TWorthe@Whwlawcorp.com
7
                            UNITED STATES DISTRICT COURT
8
                           CENTRAL DISTRICT OF CALIFORNIA
9

10     JOHN DOE 1; AN INDIVIDUAL; and               CASE NO. 2:20-cv-05554-
11
       JOHN DOE 2, AN INDIVIDUAL,                   RSWL(AGRx)
                                                    BEFORE THE HONORABLE
12                 Plaintiffs,                      Ronald S.W. Lew
13
                   vs.                              NOTICE OF MOTION AND
14
                                                    MOTION TO DISMISS
15
       UNITED AIRLINES, INC., AN ILLINOIS           PORTIONS OF PLAINTIFFS’
       COROPRATION; ROE 1, AN                       FIRST AMENDED COMPLAINT;
16     INDIVIDUAL; ROE 2, AN INDIVIDUAL;            MEMORANDUM OF POINTS
17     ROE 3, AN INDIVIDUAL; AND ROES 4             AND AUTHORITIES; AND
       THROUGH 50, INCLUSIVE.                       DECLARATION OF TODD C.
18
                   Defendant                        WORTHE, ESQ.
19                                                  [Federal Rules of Civil Procedure,
20                                                  Rule 12(b)(6)]
21
                                                    Date: August 4, 2020
22                                                  Time: 10:00 a.m.
                                                    Crtrm: TBD
23

24                                                  Complaint Filed: May 18, 2020
25

26           JURISDICTION of this Court is invoked on the basis of diversity of
27     citizenship and pursuant to 28 U.S.C. 1332, 28 U.S.C. 1441 and 28 U.S.C. 1446.
28
                                              1
     Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 2 of 21 Page ID #:73



1
             PLEASE TAKE NOTICE that on August 4, 2020, at 10:00 a.m., or as soon
2
       thereafter as counsel may be heard in Courtroom TBD, Defendant, UNITED
3
       AIRLINES, INC. (“United”) will and hereby does move this Court, pursuant to
4
       Federal Rule of Civil Procedure 12(b)(6) for an Order dismissing plaintiff, JOHN
5
       DOE 1 (“Doe 1”) and JOHN DOE 2 (“Doe 2,” collectively, “plaintiffs’ ”) causes
6
       of action for violation of the Unruh Act, intentional infliction of emotional distress
7
       and negligent infliction of emotional distress. United further moves the Court for
8

9
       dismissal of plaintiffs’ prayer for punitive damages, treble damages, attorneys’

10
       fees, and declaratory and injunctive relief.

11           This motion is made following the conference of counsel pursuant to Local
12     Rule 7-3, which took place on June 24 and 30, 2020. Counsel were unable to reach
13     any agreement that would obviate the need for the motion. [See Declaration of
14     Todd C. Worthe, Esq. “Worthe Dec.”]
15           The motion is based upon this Notice of Motion and Motion, the
16     Memorandum of Points and Authorities attached hereto, declaration of Todd C.
17     Worthe, Esq. all the papers, pleadings, and records on file herein, and on such
18     other matters as may properly come before the Court or at the hearing.
19

20
       DATED: June , 2020               WORTHE HANSON & WORTHE
21                                      By: /s/ Todd Worthe
22
                                        TODD C. WORTHE
                                        MACKENZIE C. FOELLMER
23                                      Attorneys for Defendant, UNITED AIRLINES,
24                                      INC.
25

26

27

28
                                                  2
     Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 3 of 21 Page ID #:74



1                     TABLE OF CONTENTS
2
                      MEMORANDUM OF POINTS AND AUTHORITIES ......................7
3

4                        I. INTRODUCTION .......................................................................7
5

6                        II. ARGUMENT ...............................................................................8
7
                         A. Standards Governing a Motion to Dismiss ..............................8
8

9                          B. Plaintiffs’ Cause of Action for Violation of the Unruh Act
10
          Fails to Allege Sufficient Facts Against United. ............................................10
11

12                         C. Plaintiffs’ Fifth Cause of Action for Intentional Infliction of
13
          Emotional Distress Fails. .................................................................................12
14

15                         D. Plaintiffs Have Not Pleaded Facts Sufficient to Support a
16
          Claim for Punitive Damages Against the Corporation. ...............................15
17

18                         E. Plaintiffs’ Sixth Cause of Action Fails to State Facts
19
          Sufficient for An Action For Negligent Infliction Of Emotional Distress ..18
20

21                         F. Plaintiffs’ Prayer for Declaratory and Injunctive Relief
22
          Fails.               19
23

24                       III. CONCLUSION .........................................................................19
25

26

27

28
                                                             3
     Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 4 of 21 Page ID #:75



1
                        TABLE OF AUTHORITIES
2
                        Cases
3

4      Alatorre v. Wastequip Mfg. Co. LLC, 2013 WL 796717 (E.D. Cal. Mar. 4,, 2013.13
5
       Al-Kidd v. Ashcroft, 580 F.3d 949, 956 (9th Cir. 2009) .............................................8
6
       Anderson v. Liberty Lobby, Inc., 477 US 242, 252-254 (1986) ..............................16
7

8      Angelucci v. Century Supper Club, 41 Cal.4th 160, 174 (2007) ............................11
9
       Archibald v. Cinerama Hawaiian Hotels, Inc., 73 Cal.App.3d 152, 159 (1977) ....10
10

11     Bell Atl. Corp. v. Twombly (2007) 550 U.S. 544, 545, citations omitted) ................8
12
       Bock v. Hansen, 225 Cal.App.4th 215, 235 (2014) ..................................................12
13
       Brownfield v. Daniel Freeman Marina Hosp., 208 Cal. App. 3d 405, 410, 256 Cal.
14

15       Rptr. 240, 243 (1989) ............................................................................................18
16
       Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-338 (9th Cir. 1996) .....................8
17

18     Dalkilic v. Titan Corp., 516 F.Supp.2d 1177, 1188 (S.D.Cal. 2007) ......................12
19
       Davidson v. City of Westminster, 32 Cal.3d 197, 209 (1982) .................................12
20
       De la Cruz v. Tormey, 582 F.2d 45, 48 (9th Cir. 1978) ..............................................7
21

22     Fletcher v. W. Nat’l Life Ins. Co., 10 Cal.App.3d 376, 397 (1970) ........................13
23
       Harris v. Capital Growth Investors XIV 52 Cal.3d 1142, 1175 (1991,) ...................9
24

25     Hartman v. Shell Oil Co. 68 Cal.App.3d 240 (1977) ..............................................15
26
       Keum v. Virgin America Inc. (N.D. Cal. 2011) 781 F.Supp.2d 944, 955 ................10
27
       Lawler v. Montblanc, 704 F.3d 1235, 1246 (C.D. Cal. 2013) .................................14
28
                                                                 4
     Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 5 of 21 Page ID #:76



1      Molien v. Kaiser Foundation Hospitals 27 Cal.3d 916, 928 (1980) .......................17
2
       Potter v. Firestone Tire & Rubber Co, 6 Cal.4th 965, 1004 (1993) .........................13
3

4      Reader's Digest Assn. v. Superior Court (1984) 37 Cal.3d 244, 252 ......................16
5
       Rescuecom Corp. v. Google Inc., 562 F.3d 123, 127 (2nd Cir. 2009 .........................7
6

7
       San Joaquin Dep. Sheriffs’ Ass’n v. County of San Joaquin, 898 F.Supp.2d 1177,

8        1192-1193..............................................................................................................13
9
       Shroyer v. New Cingular Wireless Services, Inc. 622 F.3d 1035, 1041 (9th Cir.
10

11       2010)........................................................................................................................8
12
       Sousanis v. Northwest Airlines, Inc., No. C–99–2994, 2000 WL 34015861, at *7
13

14
         (N.D.Cal. March 3, 2000.) ....................................................................................10

15     Tomaselli v. TransAmerica Ins. Co. (1994) 25 Cal.App.4th 1269, 1281 ................15
16
       Trerice v. Blue Cross of Cal., 209 Cal.App.3d 878, 883 (1989) .............................12
17

18     Weiner v. Fleishman 54 Cal.3d 476, 490 .................................................................16
19
       Whittlestone, Inc. v. Handi-Craft Company 618 F.3d 970, 976 (9th Cir. 2010) ........8
20

21
       Wong v. Tai Jing, 189 Cal.App.4th 1354, 1377 (2010) ............................................18

22     Woolstrum v. Mailloux (1983) 141 CA3d Supp.11, 190 CR 735 ............................15
23

24                        Statutes
25
       California Civil Code, section 51 ............................................................................10
26
       Catsoura v. Dep’t of California Highway Patrol, 181 Cal.App.4th 856, 876 (2010)
27

28       ...............................................................................................................................17
                                                                       5
     Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 6 of 21 Page ID #:77



1      Civil Code § 3294 (b) ...............................................................................................17
2
       Civil Code §3294 ........................................................................................................................................ 15, 16
3

4      Rule 12(b)(6) ............................................................................................................................................................. 7, 8

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                                              6
     Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 7 of 21 Page ID #:78



1
                      MEMORANDUM OF POINTS AND AUTHORITIES
2
          I.     INTRODUCTION:
3
          On May 20, 2020, Doe 1 and Doe 2 filed their first amended complaint alleging
4
       causes of action for violation of the Unruh Civil Rights Act, California Civil Code
5
       section 51, et. seq., intentional infliction of emotional distress, negligent infliction
6
       of emotional distress, negligence and negligent hiring, training, supervision and
7
       retention against United. (Worthe Dec. ¶2, Exhibit “A” First Amended Complaint
8

9
       “FAC”) Plaintiffs also alleged sexual assault, sexual battery and battery against

10
       Roe 1 – the “middle-aged Caucasian female” passenger (“Roe 1” or “Assailant”).

11     Specifically, plaintiffs allege that they were sexually harassed, assaulted, abused,
12     violated and verbally and physically harassed by Roe 1 during a United flight.
13        On February 10, 2020, plaintiffs were traveling on United flight #415 departing
14     from Los Angeles International Airport (“LAX”) at 11:15 p.m. to Newark Liberty
15     International Airport (“EWR”) scheduled to land at 7:10 a.m. (FAC ¶40) Doe 1
16     was seated in seat number 39K (middle) and Doe 2 was seated in seat number 39J
17     (aisle). (FAC ¶42-43) Plaintiffs allege that Roe 1 began harassing Doe 1 after
18     taking her seat number 39L (window) including hitting, elbowing and telling him
19     he should move to the front of the aircraft because he was wearing a mask and was
20     sick. Plaintiffs allege that about 25 minutes after Roe 1 took her seat she took
21
       unknown prescription medication. (FAC ¶47) Doe 2 allegedly notified a male
22
       Flight Attendant (“Roe 2”) that Roe 1 was harassing, cursing, acting belligerent
23
       and disruptive. (FAC ¶48) Plaintiffs allege that Roe 2 said he would come to the
24
       row to check on plaintiffs. They allege Roe 2 never returned to check on their
25
       complaints.
26
          After the complaint by Doe 2, plaintiffs claim Roe 1 continued to sexually
27
       assault Doe 1, including groping and massaging Doe 1’s knees and thighs. Doe 2
28
                                                   7
     Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 8 of 21 Page ID #:79



1
       alleges that he again went to Flight Attendant Roe 2 to complain of the
2
       inappropriate behavior. Plaintiffs claim Roe 2 took no action and ignored the
3
       second complaint.
4
             About 75 minutes after departure, plaintiffs allege Roe 1 continued to make
5
       unwanted sexual advances, including groping Doe 1’s legs and stroking her hand
6
       across his lap. (FAC ¶51) Doe 1 claims that Flight Attendant Roe 3 was walking
7
       past and heard Doe 1’s complaints and witnessed Roe 1’s conduct. Plaintiffs
8

9
       allege that Flight Attendant – Roe 3 issued a verbal warning to Roe 1. (FAC ¶51)

10
             After the verbal warning, Roe 1 turned away towards the window. Plaintiffs

11     allege that Roe 1 then put her hand through Doe 1’s jacket touched his chest,
12     grabbed his penis and ripped off his face mask. Doe 1 jumped up from his seat and
13     exclaimed that Roe 1 was “touching me.” (FAC ¶52) Doe 1 went to notify Flight
14     Attendant – Roe 2. While Doe 1 was gone, Roe 1 allegedly moved into the middle
15     seat and sexually assaulted Doe 2. Flight Attendant Roe 2 arrived at the seat and
16     moved Roe 1 to another seat and row in the aircraft.
17           Plaintiffs’ first amended complaint alleges that United did not have adequate
18     policies and procedures to prevent sexual assault and that United failed to properly
19     respond to plaintiffs’ complaints of sexual assault.
20     II.      ARGUMENT:
21
       A.       Standards Governing a Motion to Dismiss.
22
                A Rule 12(b)(6) motion tests the legal sufficiency of the claim or claims
23
       stated in the complaint. De la Cruz v. Tormey, 582 F.2d 45, 48 (9th Cir. 1978). On
24
       a motion to dismiss under Rule 12(b)(6), the court must “accept as true all of the
25
       factual allegations set out in plaintiff’s complaint, draw inferences from those
26
       allegations in the light most favorable to plaintiff, and construe the complaint
27
       liberally.” Rescuecom Corp. v. Google Inc., 562 F.3d 123, 127 (2nd Cir. 2009); Al-
28
                                                   8
     Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 9 of 21 Page ID #:80



1
       Kidd v. Ashcroft, 580 F.3d 949, 956 (9th Cir. 2009). A Rule 12(b)(6) motion is
2
       proper when the complaint fails to allege sufficient facts under a cognizable legal
3
       theory. Shroyer v. New Cingular Wireless Services, Inc. 622 F.3d 1035, 1041 (9th
4
       Cir. 2010). To survive a motion to dismiss, the facts alleged must state a facially
5
       plausible claim for relief. Id.
6
             Although allegations of material fact are taken as true and construed in the
7
       light most favorable to the nonmoving party (Cahill v. Liberty Mut. Ins. Co., 80
8

9
       F.3d 336, 337-338 (9th Cir. 1996), courts are not required to accept as true

10
       conclusory allegations, unreasonable inferences, or unwarranted deductions of fact.

11     Manzarek, 519 F.3d at 1031. “While a complaint attacked by a Rule 12(b)(6)
12     motion to dismiss does not need detailed factual allegations, a plaintiff's obligation
13     to provide the ‘grounds’ of his ‘entitlement to relief’ requires more than labels and
14     conclusions, and a formulaic recitation of the elements of a cause of action will not
15     do. Factual allegations must be enough to raise a right to relief above the
16     speculative level, on the assumption that all the allegations in the complaint are
17     true (even if doubtful in fact).” Bell Atl. Corp. v. Twombly (2007) 550 U.S. 544,
18     545, citations omitted)
19           In Whittlestone, Inc. v. Handi-Craft Company 618 F.3d 970, 976 (9th Cir.
20     2010), the Court held that while FRCP Rule 12(f) “does not authorize a district
21
       court to dismiss a claim for damages on the basis it is precluded as a matter of law”
22
       because it would create redundancies within the Federal Rules of Civil Procedure,
23
       Rule 12(b)(6) could be used to strike a claim for damages. Id. At 974.
24

25

26

27

28
                                                 9
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 10 of 21 Page ID #:81



1                 B.     Plaintiffs’ Cause of Action for Violation of the Unruh Act
2
     Fails to Allege Sufficient Facts Against United.
3

4                        i.    Plaintiffs have not alleged United acted intentionally.
5

6
           Plaintiffs make conclusory allegations against United that a substantial

7
     motivating reason for United to failed to enforce adequate policies and procedures

8    was plaintiffs’ gender, age and race. (FAC ¶66) In their only factual assertion
9    regarding race, gender or age, plaintiffs, who are male African American adults,
10   specifically allege that United “unwittingly overlooked, disregarded, ignored and
11   took for granted the fact that sexual assaults and harassment can occur to young
12   African American males.” (FAC ¶66, emphasis added.) However, to properly
13   plead a cause of action for violation of the Unruh Act, plaintiffs must establish the
14   element of intentional conduct. A plaintiff seeking to establish a case under the
15   Unruh Act must plead and prove intentional discrimination. Harris v. Capital
16   Growth Investors XIV 52 Cal.3d 1142, 1175 (1991,) emphasis added. Here, by
17   plaintiffs’ own admissions, United unwittingly, i.e., unintentionally overlooked the
18
     fact that sexual harassment can occur, which does not rise to intentional
19
     discrimination. Plaintiffs do not plead specific facts to establish intentional
20
     conduct and there are only conclusory allegations of the alleged substantial
21
     motivating reason for United’s conduct. For this reason alone, the first cause of
22
     action should be dismissed.
23
                        ii.   Plaintiffs do not allege the offending conduct occurred
24
     in California.
25

26
           Additional grounds for the dismissal of the first cause of action are that
27
     plaintiffs do not allege the conduct of which they complained occurred in
28
                                               10
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 11 of 21 Page ID #:82



1
     California, and as a result, their Unruh Civil Rights Act cause of action fails as a
2
     matter of law. The Unruh Act contains language expressly limiting its reach to “all
3
     persons within the jurisdiction of this state.” California Civil Code, section 51. In
4
     Archibald v. Cinerama Hawaiian Hotels, Inc., 73 Cal.App.3d 152, 159 (1977), the
5
     court held that the Unruh Act by its express language applied only in California.
6
     The District Courts agree. “The Unruh Act only applies to discrimination that takes
7
     place within California's jurisdiction. Sousanis v. Northwest Airlines, Inc., No. C–
8

9
     99–2994, 2000 WL 34015861, at *7 (N.D.Cal. March 3, 2000.) In Sousanis, the

10
     complained of actions allegedly took place while the aircraft at issue was on the

11   ground in Detroit. The court held plaintiff’s claim was not governed by the Unruh
12   Act, regardless of the fact that the aircraft’s ultimate destination was within
13   California. The Sousanis court noted plaintiff’s complaint did not allege that the
14   events in question took place in California. Further, the fact that the flight was due
15   to terminate in California was insufficient to bring the entire flight under
16   California's governance. (Id.) Significantly, the court noted,
17
           Simply because plaintiff resides in California, purchased her ticket here, and
18         her flight originated here does not mean that the California statutes she has
19         sued under apply outside the state. The Legislature did not contemplate these
           statutes reaching outside of the jurisdiction, and they do not. Were it
20
           otherwise, airlines would be subject to a variety of statutes in many different
21         jurisdictions, even on the basis of one interstate flight. The clearly is
22
           inimical to the contemplation of the federal government in heavily
           regulating the airline industry. Id.
23
           In Keum v. Virgin America Inc. (N.D. Cal. 2011) 781 F.Supp.2d 944, 955,
24
     the district court agreed that the Unruh Act applies only to discrimination that
25
     occurs within California's jurisdiction. In Keum, plaintiff’s complaint did not allege
26
     that the events in question took place in California; moreover, the fact that the
27
     flight was due to terminate in California was insufficient to bring the entire flight
28
                                               11
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 12 of 21 Page ID #:83



1
     under California's governance. (Id.) Plaintiffs allege their complaints were made
2
     about 25 minutes and 75 minutes into their flight. Plaintiffs have not only failed to
3
     allege a statutory violation within California, they affirmatively suggest it
4
     occurred, if at all, somewhere other than in California. Given the circumstances,
5
     plaintiffs’ failure to allege their injuries occurred in California is a failure to
6
     properly allege an Unruh Act violation as a matter of law.
7
            iii.   Dismissal of the Unruh Act claims requires striking Plaintiffs’
8

9
     claims for treble damages and attorney’s fees.

10
            Plaintiffs claim entitlement to statutory damages of at least $4,000 and up to

11   three times actual damages per violation pursuant to California Civil Code section
12   52(a). As set forth in Angelucci v. Century Supper Club, 41 Cal.4th 160, 174
13   (2007), “Section 52 provides for minimum statutory damages … for every
14   violation of section 51, regardless of the plaintiff's actual damages.” Further,
15   plaintiffs also claim attorneys’ fees in connection with this cause of action only.
16          Treble damages and attorneys’ fees are only permitted by Civil Code §52(a).
17   If the Court dismisses the first cause of action for violation of the Unruh Act, then
18   Plaintiffs’ claims for treble damages and attorneys’ fees should also be dismissed.
19                 C.     Plaintiffs’ Fifth Cause of Action for Intentional Infliction of
20
     Emotional Distress Fails.
21

22          Under California law, the elements of the tort of intentional infliction of
23   emotional distress are: “(1) outrageous conduct by the defendant; (2) the
24   defendant’s intention of causing or reckless disregard of the probability of causing
25   emotional distress; (3) the plaintiff’s suffering severe or extreme emotional
26
     distress; and (4) actual and proximate causation of the emotional distress by the
27

28
                                                 12
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 13 of 21 Page ID #:84



1
     defendant’s outrageous conduct.” Trerice v. Blue Cross of Cal., 209 Cal.App.3d
2
     878, 883 (1989).
3
           “The outrageousness of a defendant’s conduct normally presents an issue of
4
     fact to be determined by the trier of fact.” Id. However, a reviewing court may, as
5
     a matter of law, determine if ‘defendant’s conduct may reasonably be regarded as
6
     so extreme and outrageous as to permit recovery.’” Dalkilic v. Titan Corp., 516
7
     F.Supp.2d 1177, 1188 (S.D.Cal. 2007) “Conduct to be outrageous must be so
8

9
     extreme as to exceed all bounds of that usually tolerated in a civilized community.”

10
     Davidson v. City of Westminster, 32 Cal.3d 197, 209 (1982). “[W]hether conduct

11   is outrageous is ‘usually a question of fact’ … [However] many cases have
12   dismissed intentional infliction of emotion distress cases on demurrer, concluding
13   that the facts alleged do not amount to outrageous conduct as a matter of law.”
14   Bock v. Hansen, 225 Cal.App.4th 215, 235 (2014).
15         Here, plaintiffs allege United’s “outrageous conduct” is that flight attendants
16   ignored plaintiffs’ complaints and failed to adequately respond. According to
17   plaintiffs’ complaint, there were a total of three alleged complaints to the United
18   flight attendants. Plaintiffs concede that after the second complaint by plaintiffs,
19   Flight Attendant Roe 3 warned the woman who was harassing plaintiffs. After the
20   warning was given by United and plaintiffs complained again, Flight Attendant
21
     Roe 2 moved the passenger away from Plaintiffs and seated her in a different row.
22
     By moving the passenger, United took appropriate action and thereby protected
23
     Plaintiffs from any further harassment by Roe 1.
24
           Plaintiffs allege that United sat “idly” by and did not take action to prevent
25
     the wrongful conduct of the female passenger. (FAC ¶94.) However, Plaintiffs
26
     also allege that United acted and responded to plaintiffs’ complaints by moving the
27
     passenger away from them after a verbal warning was given and improper conduct
28
                                               13
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 14 of 21 Page ID #:85



1
     of the woman continued. As a matter of law, the Court can conclude that the
2
     conduct by United was not so extreme and outrageous as to exceed all bounds of
3
     that usually tolerated in a civilized community. Therefore, plaintiffs’ fifth cause
4
     of action fails to state sufficient facts and should be dismissed.
5
           Further, in their complaint, plaintiffs fail to allege facts showing they
6
     suffered the “extreme” or “severe” emotional distress required to support their
7
     claim for intentional infliction of emotional distress. Severe emotional distress is
8

9
     not trivial or transitory. Fletcher v. W. Nat’l Life Ins. Co., 10 Cal.App.3d 376, 397

10
     (1970). Rather, “[s]evere emotional distress means ‘emotional distress of such

11   substantial quality or enduring quality that no reasonable [person] in civilized
12   society should be expected to endure it.” Potter v. Firestone Tire & Rubber Co, 6
13   Cal.4th 965, 1004 (1993).
14         Here, plaintiffs refer in conclusory terms to “great pain of mind and body,
15   shock, emotional distress, physical manifestations of emotional distress including
16   depression, anxiety, humiliation, loss of enjoyment of life, and fear of flying and
17   travel.” (FAC ¶98) This is insufficient to state an actionable claim. Conclusory
18   allegations such as these are not entitled to a presumption of truth and will not
19   support a claim for emotional distress. San Joaquin Dep. Sheriffs’ Ass’n v. County
20   of San Joaquin, 898 F.Supp.2d 1177, 1192-1193 (E.D. Cal. 2012, allegations that
21
     plaintiff suffered “severe emotional distress” and “physical and emotional injuries,
22
     including general physical upset and manifestations of severe emotional distress”
23
     are insufficient); Alatorre v. Wastequip Mfg. Co. LLC, 2013 WL 796717 (E.D. Cal.
24
     Mar. 4,, 2013, conclusory allegations regarding “humiliation, embarrassment,
25

26

27

28
                                                14
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 15 of 21 Page ID #:86



1
     severe mental and emotional distress” are inadequate).1 The Ninth Circuit has
2
     observed that “[a]nxiety, sleeplessness, upset stomach, [and] sometimes muscle
3
     twitches,” alone, “clearly … do not rise to the level of ‘severe’” for purposes of
4
     supporting an IIED claim. Lawler v. Montblanc, 704 F.3d 1235, 1246 (C.D. Cal.
5
     2013)
6
             Both plaintiffs assert identical conclusory allegations of emotional distress
7
     including general pain, emotional distress, anxiety and humiliation similarly to the
8

9
     allegations at issue in Lawler and Alatorre. Plaintiffs fail to allege any individual

10
     symptoms or manifestations of distress. Since plaintiffs have not alleged facts

11   establishing they suffered severe emotional distress, this cause of action fails.
                  D.     Plaintiffs Have Not Pleaded Facts Sufficient to Support a
12

13   Claim for Punitive Damages Against the Corporation.
14

15
             Plaintiffs claim they are entitled to punitive damages in connection with the

16   cause of action for intentional infliction of emotional distress only. As set forth in
17   detail above, the cause of action for intentional infliction of emotional distress is
18   not properly pleaded and should be dismissed. If the cause of action for intentional
19   infliction of emotional distress is dismissed, then the claim for punitive damages
20   against United should also be dismissed.
21           Even if the Court finds that the intentional infliction of emotional distress
22   claim is sufficiently pleaded, plaintiffs fail to properly state a claim for punitive
23   damages. Plaintiffs allege that United is a corporation. (FAC ¶4) The award of
24

25

26
     1
27    See also Campbell v. Feld Ent. Inc., 2014 WL 1366581 (N.D. Cal. 2014) (where a plaintiff
     proffers only conclusory allegations regarding how the alleged injuries rise to the level of
28   “severe” for purposes of an IIED claim, they are insufficient)
                                                    15
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 16 of 21 Page ID #:87



1
     punitive damages against a corporation is controlled by the provisions of Civil
2
     Code §3294 which provides, in pertinent part, as follows:
3         An employer shall not be liable for damages pursuant to subdivision (a), based
          upon acts of an employee of the employer, unless the employer had advance
4         knowledge of the unfitness of the employee and employed him or authorized
          or ratified the wrongful conduct for which the damages are awarded or was
5         personally guilty of oppression, fraud or malice. With respect to a corporate
6
          employer, the advance knowledge and conscious disregard, authorization,
          ratification or act of oppression or malice must be on the part of an officer,
7
          director or managing agent of the corporation. (Civil Code §3294(b),
          emphasis added.)
8          To satisfy the requirements of Civil Code §3294(b), plaintiffs must show
9
     United had advance knowledge of the unfitness of an employee or that the
10
     employee was an officer managing agent or supervisor. Nowhere in the first
11
     amended complaint do plaintiffs allege or even attempt to set forth facts relative to
12
     improper conduct of an officer, director or managing agent of United. For this
13
     reason alone, the punitive damages claim should be dismissed. In Hartman v.
14
     Shell Oil Co. 68 Cal.App.3d 240 (1977), the court held in pertinent part as follows:
15

16         To hold a principal liable for punitive damages, it must be shown that the
           employee-agent’s malicious acts were done with knowledge or under the
17         direction of the principal-employer, that is to say, were authorized, or the
18
           acts were ratified by the principal with knowledge of the willful and
           malicious character of such acts.
19         The law disfavors punitive damages and an award of such damages is only
20   proper in the “clearest of cases.” Woolstrum v. Mailloux (1983) 141 CA3d
21
     Supp.11, 190 CR 735. The court stated in Tomaselli v. TransAmerica Ins. Co.
22
     (1994) 25 Cal.App.4th 1269, 1281, that the conduct that will support punitive
23
     damages must have been “so vile, base, contemptible, miserable, wretched or
24
     loathsome that it would be looked down upon and despised by ordinary decent
25
     people.” Such conduct has been described as "[having] the character of outrage
26
     frequently associated with a crime.” (Id.)
27

28
                                               16
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 17 of 21 Page ID #:88



1
           In Reader's Digest Assn. v. Superior Court (1984) 37 Cal.3d 244, 252, the
2
     California Supreme Court held that on a motion for summary judgment on a
3
     punitive damages claim the clear and convincing standard applies. In district
4
     court, the party opposing summary judgment must meet the quantum of proof
5
     required at trial: “[A] ruling on a motion for summary judgment … necessarily
6
     implicates the substantive evidentiary standard of proof that would apply at the
7
     trial on the merits … [I]n ruling on a motion for summary judgment, the judge
8

9
     must view the evidence presented through the prism of the substantive evidentiary

10
     burden.” Anderson v. Liberty Lobby, Inc., 477 US 242, 252-254 (1986). Thus,

11   where as here, plaintiffs must show malicious, oppressive or fraudulent conduct by
12   United’s employees, it must do so by producing clear and convincing evidence of
13   that conduct. (Id.)
14         Plaintiffs have failed to allege facts sufficient to constitute a claim for
15   punitive damages as permitted under Civil Code §3294. The alleged conduct is
16   that United employee Flight Attendants didn’t respond appropriately to plaintiffs’
17   complaints. Plaintiffs simply set forth boilerplate conclusory allegations that
18   United acted willfully and maliciously with the intent to harm plaintiffs. There are
19   no specific supporting facts alleged. Without more, plaintiffs will not be able to
20   meet will not been able to meet the “clear and convincing standard” as a requisite
21
     for punitive damages. California courts are exceedingly reluctant to award punitive
22
     damages and this case presents no extraordinary facts in which to grant such an
23
     improbable request. The California Supreme Court noted in Weiner v. Fleishman
24
     54 Cal.3d 476, 490, “[t]he clear and convincing standard of proof is an exacting
25
     standard,” and plaintiffs have not alleged any facts sufficient to produce evidence
26
     which meets such a stringent standard. In fact, plaintiffs have not alleged any facts
27
     to indicate that an officer, director or managing agent of United had advance
28
                                                17
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 18 of 21 Page ID #:89



1
     knowledge of any unfitness of any of the employees whose alleged acts are at
2
     issue. Further, there are no facts indicating any officer, director or managing agent
3
     of United consciously disregarded, authorized or ratified any such conduct as
4
     expressly required by Civil Code § 3294 (b).
5
           Plaintiffs’ claim for punitive damages is completely devoid of any facts
6
     establishing that as a principal-employer United had advance knowledge that its
7
     employees were somehow unfit. There are no facts alleged regarding who
8

9
     specifically had advance knowledge of the wrongful conduct and who ratified the

10
     alleged wrongful conduct of the employees. There are no facts showing how

11   United knew of the alleged “unfitness” of its employees in advance of this
12   incident. Additionally, there are no facts regarding the particular actions of the
13   employees that amounted to the requisite conduct of malice or oppression to
14   support a claim for punitive damages. Based on the foregoing, United respectfully
15   submits that the claim for punitive damages be dismissed.
16                E.     Plaintiffs’ Sixth Cause of Action Fails to State Facts
17
     Sufficient for An Action For Negligent Infliction Of Emotional Distress
18

19         The cause of action entitled negligent infliction of emotional distress is
20   improper because it is not an independent tort or separate cause of action. Catsoura
21   v. Dep’t of California Highway Patrol, 181 Cal.App.4th 856, 876 (2010). The
22   doctrine of “negligent infliction of emotional distress” simply allows certain
23   persons to recover damages for emotional distress only on a negligence cause of
24   action even though they were not otherwise injured or harmed. Molien v. Kaiser
25   Foundation Hospitals 27 Cal.3d 916, 928 (1980).
26
           A claim for negligent infliction of emotional distress is “the tort of
27
     negligence to which the traditional elements of duty, breach of duty, causation, and
28
                                               18
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 19 of 21 Page ID #:90



1
     damages apply.” Wong v. Tai Jing, 189 Cal.App.4th 1354, 1377 (2010). As such,
2
     plaintiffs’ sixth cause of action is duplicative and no different from their seventh
3
     cause of action for general negligence. United respectfully requests the Court to
4
     dismiss the sixth cause of action.
5
                  F.     Plaintiffs’ Prayer for Declaratory and Injunctive Relief
6

7    Fails.
8
              At the very end of the First Amended Complaint plaintiffs pray “[f]or
9
     declaratory and injunctive relief, including but not limited to court supervision of
10
     United, including its [flight attendants] and employees.” (First Amended
11
     Complaint, Prayer, ¶9.) This figurative and literal afterthought has no basis
12
     whatsoever.
13

14
              The elements of a cause of action for injunctive relief are (1) a tort or other

15
     wrongful act constituting a cause of action; and (2) irreparable injury, i.e., a factual

16   showing that the wrongful act constitutes an actual or threatened injury to property
17   or personal rights which cannot be compensated by an ordinary damage award.
18   Brownfield v. Daniel Freeman Marina Hosp., 208 Cal. App. 3d 405, 410, 256 Cal.
19   Rptr. 240, 243 (1989). Plaintiffs do not even provide conclusory contentions to
20   support a claim for injunctive relief, much less any of the factually supported
21   allegations that are required.
22   III.     CONCLUSION:
23            United respectfully submits that the causes of action for violation of the
24   Unruh Act, intentional infliction of emotional distress and negligent infliction of
25   emotional distress should be dismissed because they are not properly pleaded
26
     against United. Additionally, plaintiffs’ claim and prayer for punitive damages,
27
     treble damages, attorneys’ fees, and declaratory and injunctive relief should be
28
                                                  19
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 20 of 21 Page ID #:91



1
     dismissed not only because the causes of action which they are predicated on fail,
2
     but also because plaintiffs do not allege sufficient facts to support those damages.
3

4
     DATED: June 30, 2020             WORTHE HANSON & WORTHE
5                                     By: /s/ Todd Worthe
                                      TODD C. WORTHE
6
                                      MACKENZIE C. FOELLMER
7                                     Attorneys for Defendant, UNITED AIRLINES,
8                                     INC.
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                               20
 Case 2:20-cv-05554-RSWL-AGR Document 7 Filed 06/30/20 Page 21 of 21 Page ID #:92



1                       DECLARATION OF TODD C. WORTHE
2       1. I am an attorney at law duly licensed to practice before all the Courts in the
3          State of California including the United States District Court, Central
4          District of California, and a partner in the law firm of Worthe Hanson &
5
           Worthe, A Law Corporation, and attorney of record for plaintiff and counter
6
           defendant, United Airlines, Inc. in the above-captioned action. As such, I
7
           have personal knowledge of the file and pleadings in this matter and facts
8
           stated herein. If called upon as a witness, I could and would competently
9
           testify to the following:
10
        2. Attached hereto as Exhibit A is a true and correct copy of plaintiffs’ First
11
           Amended Complaint.
12
        3. On June 24, 2020, I sent meet and confer correspondence to counsel for
13
           plaintiffs regarding the grounds for the instant motion. On June 30, 2020, I
14
           met and conferred via telephone with counsel for plaintiffs regarding the
15
           instant motion as required by Local Rule 7-3. I respectfully submit that the
16

17
           parties have satisfied the Central District Local Rules, Rule 7-3.
        I declare under penalty of perjury pursuant to the laws of the State of California
18

19   that the foregoing is true and correct.
20
     Executed this 30th day of June 2020 at Santa Ana, California.
21

22
                                                         /s/ Todd C. Worthe

23                                                              Declarant
24

25

26

27

28
                                               21
